                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                               VOICE (314) 244-2400
Susan E. Bindler
                                                                                 FAX (314) 244-2780
 Clerk of Court
                                                                               www.ca8.uscourts.gov

                                                            March 26, 2025


Kolya David Glick
ARNOLD & PORTER
601 Massachusetts Avenue, N.W.
Washington, DC 20001-3743

         RE: 25-1315 In re: Charter Communications, Inc., et al

Dear Counsel:

        Enclosed is a copy of a dispositive order entered today in the above case. Mandate is
being issued and sent today to the Clerk of the United States District Court.

                                                            Susan E. Bindler
                                                            Clerk of Court

NDG

Enclosure(s)

cc:      Clerk, U.S. District Court, Eastern District of Missouri
         Kirby Hsu
         John S. Kingston
         Ashley Lynn Kirk
         Irfan A. Lateef
         Paul J. Loh
         Elizabeth A. Long
         Michelle Millard
         Michael T. Raupp
         Daniel Reisner
         Kyle P. Seelbach
         Roman Paul Wuller

           District Court/Agency Case Number(s): 4:24-cv-00199-CDP




      Appellate Case: 25-1315       Page: 1          Date Filed: 03/26/2025 Entry ID: 5500230
                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 25-1315
                                    ___________________

         In re: Charter Communications, Inc.; Charter Communications Operating LLC

                                        Petitioners
______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:24-cv-00199-CDP)
______________________________________________________________________________

                                         JUDGMENT


Before LOKEN, ERICKSON, and STRAS, Circuit Judges.


       Petition for writ of mandamus has been considered by the court and is denied. Mandate

shall issue forthwith.

                                                    March 26, 2025




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




   Appellate Case: 25-1315        Page: 1       Date Filed: 03/26/2025 Entry ID: 5500230
